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EXHIBIT B
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: CHINESE-MANUFACTURED
DRYWALL PRODUCTS LIABILITY
LITIGATION

THIS DOCUMENT RELATES TO:
ALL CASES AND

MDL NO. 2047
SECTION: L

JUDGE FALLON
MAG. JUDGE WILKINSON

Payton, et al. v. Knauf Gips, KG, et al.
Case No. 09-cv-07628 (E.D. La.)

Gross, et al. vy. Knauf Gips, KG, et al.
Case No. 2:09-cv-06690 (E.D. La.)

Rogers, et al. v. Knauf Gips, KG, et al.
Case No. 2:10-cv-00362 (E.D. La.)

Amato, et al. v. Liberty Mutual Insurance
Company, Case No. 2:10-cv-00932 (E.D.La.)

Abreu, et al. v. Gebrueder Knauf
Verwaltungsgesellschaft, KG, et al.
Case No. 2:11-00252 (E.D. La.)

Block, et al. v. Gebrueder Knauf
Verwaltungsgesellschaft, KG, et al.
Case No. 11-cv-1363 (E.D. La.)

Arndt, et al. v. Gebrueder Knauf
Verwaltungsgesellschaft, KG, et al.
Case No. 11-cv-2349 (E.D. La.)

Cassidy, et al. v. Gebrueder Knauf
Verwaltungsgesellschaft, KG, et al.
Case No. 11-cv-3023 (E.D. La.)

Vickers, et al. v. Knauf Gips, KG, et al.
Case No. 2:09-cv-04117 (E.D. La.)

ORDER PRELIMINARILY APPROVING THE SETTLEMENT AGREEMENT
IN MDL NO. 2047 REGARDING CLAIMS INVOLVING BUILDERS, INSTALLERS,
SUPPLIERS AND PARTICIPATING INSURERS; CONDITIONALLY CERTIFYING

A SETTLEMENT CLASS; APPROVING CLASS NOTICE; SCHEDULING A
JOINT FAIRNESS HEARING; AND STAYING CLAIMS AGAINST
BUILDERS, INSTALLERS, SUPPLIERS AND PARTICIPATING INSURERS
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Upon consideration of the Motion of proposed Class Counsel and the Plaintiffs’ Steering
Committee (the “PSC”), for Preliminary Approval of the Settlement Agreement in MDL No.
2047 Regarding Claims Involving Builders, Installers, Suppliers and Participating Insurers,’
brought pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(3) and 23(e), it is hereby,

ORDERED, ADJUDGED AND DECREED that:

1. Capitalized terms used in this Order have the same meaning as those defined in
the Settlement Agreement in MDL No. 2047 Regarding Claims Involving Builders, Installers,
Suppliers and Participating Insurers (hereafter the “Global Settlement”),’ attached as Exhibit A to
the Memorandum of Law in Support of the Motion for an Order: (1) preliminarily approving the
Settlement Agreement in MDL No. 2047 Regarding Claims Involving Builders, Installers,
Suppliers and Participating Insurers; (2) conditionally certifying a settlement class; (3) approving
the form of Notice to Class Members; (4) scheduling a Joint Fairness Hearing; and (5) staying
claims against Participating Defendants and Participating Insurers.

2. The Global Settlement, including all exhibits attached thereto, is preliminarily
approved by the Court as fair, reasonable and adequate, as negotiated and entered into at arm’s-
length, in good faith, and free of collusion to the detriment of the Class, and as being within the
range of possible judicial approval at a prospective Joint Fairness Hearing.

3. The following nationwide Class is conditionally certified and shall consist of:

| The Participating Defendants are identified in Exhibit 1 to the Global Settlement. The
Participating Insurers are identified in Exhibit 2 to the Global Settlement.

2 This agreement is referred to in the Knauf Defendants’ Settlement Agreement as the
“Prospective Insurance Agreement.”

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All persons or entities, along with their heirs, representatives,
attorneys, executors, administrators, executives, subsequent
purchasers, residents, guests, tenants, lenders, successors and
assigns, with claims, known or unknown, arising from or related to
actual or alleged Chinese Drywall purchased, imported, supplied,
distributed, marketed, installed, used, sold or in any way alleged to
be within the legal responsibility of any Participating Defendant.
A Participating Defendant shall also be a Class Member to the
extent the Participating Defendant has remediated the Chinese
Drywall in one or more Affected Properties or repurchased an
Affected Property. Participating Insurers are not Class Members.
Class Members do not include persons or entities with claims
involving an Affected Property in the Commonwealth of Virginia.

4, Paul and Therese Petkin; Felix Diaz; Amelia De Jesus; Richard Sage; Villa at Oak
Hammock, LLC; WM Townhomes, LLC; Dean and Dawn Amato; Byron and Debra Byrne;
Donald and Marcelyn Puig; Edward and Susan Beckendorf; and Danny and Celeste O’Keefe and
each class representative identified in each Omni Complaint and each Complaint in Intervention
to an Omni Complaint in MDL 2047 are appointed as Representatives for the Class.

5. Russ Herman and Arnold Levin are appointed as Class Counsel, and the
Plaintiffs’ Steering Committee (“PSC”) are appointed as Of-Counsel.

6. The opt-out procedure set forth in Section 8 of the Global Settlement is approved.

7. The procedure for lodging objections to the Global Settlement as set forth in
Section 9 of the Global Settlement is approved.

8. The Notice presented to the Court for approval is hereby approved.

9. The Summary Notice presented to the Court for approval is hereby approved.

10. The protocol for dissemination of Notice to Class Members as set forth in Section

7 of the Global Settlement is approved.

11. On or before, , 2012, Settlement Class Counsel shall (a) cause the

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Notice to be sent via first-class mail, postage prepaid to Class Members with claims in the
Litigation or in CDW-Related Actions and who are identifiable through Plaintiff Profile Forms
and other available records, and their counsel; and (b) request that said Notice be posted on
federal and state court websites where the Litigation or where CDW-related Actions are pending
and on other publicly available websites and other public places.

12. On or before, , 2012, Settlement Class Counsel shall initiate efforts to
disseminate the Summary Notice: (a) in newspapers and periodicals as set forth in Section 7 of
the Global Settlement; (b) in a press release; (c) by television as set forth in Section 7 of the
Global Settlement; and (d) in on-line media.

13. The cost of Notice shall be paid in accordance with sections 4.1.1 and 16.4 of the
Global Settlement.

14. The Notice shall be posted on the Court’s Chinese Drywall MDL website so as to
commence the Notice period.

15. Any Class Member wishing to opt out of the Global Settlement must notify Class
Counsel, Arnold Levin (LEVIN, FISHBEIN, SEDRAN & BERMAN, 510 Walnut Street, Suite 500,
Philadelphia, PA 19106), and Russ M. Herman (HERMAN, HERMAN & KATZ, LLP, 820 O’Keefe
Avenue, New Orleans, LA 70113) in writing, within sixty (60) days after the last date to provide
Notice to the Class, i.e., postmarked no later than , 2012, which is the last day of the
Opt-Out/Objection Period, of their intention to opt out of the Settlement. No opt- out will be
effective if filed earlier than 30 days after the last date to provide notice to the Class, i.e., if filed

before , 2012. To be effective, the opt-out notice must set forth the full name

and current address of the person electing to opt out, the address of the property allegedly

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damaged by Chinese Drywall and/or the address of the property from which the Class Member
alleges injurious exposure to Chinese Drywall, to the best of the Class Member’s knowledge, the
identities or every supplier, installer, builder, developer and its/their insurers, and any other
Participating Defendant and Participating Insurer against which the Class Member intends to
pursue his, or her, or its claims, and a sentence stating: “The undersigned hereby opts out from
the Builder, Installer, Supplier and Participating Insurer Settlement Class in the Chinese Drywall
Action.” The opt-out notice must be signed by the individual Class Member.

16. All objections to the proposed Global Settlement shall be mailed to Class
Counsel, Arnold Levin (LEVIN, FISHBEIN, SEDRAN & BERMAN, 510 Walnut Street, Suite 500,
Philadelphia, PA 19106), and Russ M. Herman (HERMAN, HERMAN & KATZ, LLP, 820 O’Keefe
Avenue, New Orleans, LA 70113), in writing, postmarked no later than sixty (60) days after the
last date to provide Notice to the Class, i.e., postmarked no later than , 2012, or they
will be deemed waived. All objections must be signed by the individual Class Member and by
his or her counsel, if any.

17. The Settling Parties shall file any response to the objections or other papers in

support of final approval of the Settlement on or before , 2012.

18. A formal Joint Fairness Hearing shall take place on November 13, 2012,
beginning at 9 o’clock in the a.m., and continuing to November 14, 2012, if necessary, in order to
consider comments on and objections to the proposed Global Settlement and to consider whether
(a) to approve thereafter the class settlement as fair, reasonable and adequate pursuant to Rule 23
of the Federal Rules of Civil Procedure, (b) to finally certify the Settlement Class, and (c) to

enter the Order and Judgment provided in paragraph 1.14 of the Global Settlement.
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19. Prosecution of all claims and CDW-Related Actions against the Participating
Defendants and Participating Insurers, except for Reserved Claims, shall be stayed and enjoined
pending the settlement proceedings involving the Global Settlement and further Orders of the
Court.

20. The Settling Parties have reserved all claims and defenses in the Litigation should
the proposed Global Settlement not become final for whatever reason.

21. The Participating Defendants and Participating Insurers have reserved all
defenses, including the right to contest certification of the Class de novo should the proposed
Global Settlement not become final for whatever reason. If the proposed Global Settlement does
not become final, the conditional certification of the Class will be null and void, and the
Litigation will proceed as if there had been no Settlement or conditional certification of a Class.

This day of , 2012, at New Orleans, Louisiana

ELDON E. FALLON
United States District Court Judge

